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                                UNITED STATES BANKRUPTCY COURT

                      NORTHERN DISTRICT OF GEORGIA - ATLANTA DIVISION

 IN RE:                                                     Case No. 18-51776-PMB

 KAWIKA TREVICE WORRELL and CAMILLE                         Chapter 13
 LIZETTE WORRELL AKA CAMILLE LIZETTE
 PHIFER,

                    Debtor.


                                    REQUEST FOR SPECIAL NOTICE


TO:        UNITED STATES BANKRUPTCY JUDGE, THE DEBTOR(S), AND ALL INTERESTED
           PARTIES


           PLEASE TAKE NOTICE that ALDRIDGE PITE, LLP submits this Request for Special Notice and

Service of Copies, for DP Atlanta, LLC and hereby requests special notice of all events relevant to the above-

referenced bankruptcy and copies of all pleadings or documents filed in relation to the above-referenced

bankruptcy, including all pleadings or notices under Federal Rules of Bankruptcy Procedure, Rule 2002, the

commencement of any adversary proceedings, the filing of any requests for hearing, objections, and/or notices

of motion, or any other auxiliary filings, as well as notice of all matters which must be noticed to creditors,

creditors committees and parties-in-interest and other notices as required by the United States Bankruptcy

Code and Rules and/or Local Rules of the above-referenced bankruptcy court.

           ALDRIDGE PITE, LLP submits this Request for Notice and Service of Copies as attorneys for DP

Atlanta, LLC.

           ALDRIDGE PITE, LLP, requests that for all notice purposes and for inclusion in the Master Mailing

List in this case, the following address be used:

                                                   Joshua Ryden
                                             ALDRIDGE PITE, LLP
                                             Fifteen Piedmont Center
                                       3575 Piedmont Road, N.E., Suite 500
                                                Atlanta, GA 30305
           Neither this Request for Special Notice nor any subsequent appearance, pleading, claim, proof of

claim, documents, suit, motion nor any other writing or conduct, shall constitute a waiver of the within

party's:
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        a.      Right to have any and all final orders in any and all non-core matters entered only after de

novo review by a United States District Court Judge;

        b.      Right to receive service pursuant to Fed. R. Civ. P. 4 made applicable to the instant

proceeding by Fed. R. Bankr. P. 7004. This Request for Special Notice shall not operate as a confession

and/or concession of jurisdiction. Moreover, the within party does not authorize ALDRIDGE PITE, LLP,

either expressly or impliedly through ALDRIDGE PITE, LLP’s participation in the instant proceeding, to act

as its agent for purposes of service under Fed. R. Bankr. P. 7004;

        c.      Right to trial by jury in any proceeding as to any and all matters so triable herein, whether or

not the same be designated legal or private rights, or in any case, controversy or proceeding related hereto,

notwithstanding the designation or not of such matters as "core proceedings" pursuant to 28 U.S.C. §

157(b)(2)(H), and whether such jury trial right is pursuant to statute or the United States Constitution;

        d.      Right to have the reference of this matter withdrawn by the United States District Court in

any matter or proceeding subject to mandatory or discretionary withdrawal; and

        e.      Other rights, claims, actions, defenses, setoffs, recoupments or other matters to which this

party is entitled under any agreements at law or in equity or under the United States Constitution.

Dated: June 5, 2018                                        ALDRIDGE PITE, LLP


                                                           /s/Joshua Ryden
                                                           Joshua Ryden (SBN 140502)
                                                           jryden@aldridgepite.com
                                                           Fifteen Piedmont Center
                                                           3575 Piedmont Road, N.E., Suite 500
                                                           Atlanta, GA 30305
                                                           Phone: (404) 994-7400
                                                           Fax: (888) 873-6147
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 LIZETTE WORRELL AKA CAMILLE LIZETTE
 PHIFER,

                  Debtor.


                                       CERTIFICATE OF SERVICE

    I, the undersigned, hereby certify under penalty of perjury that I am, and at all times hereinafter
mentioned, was more than 18 years of age, and that on June 5, 2018, I served a copy of Request for Special
Notice which was filed in this bankruptcy matter on June 5, 2018, in the manner indicated:


The following parties have been served via e-mail:
Howard P. Slomka
se@myatllaw.com

Melissa J. Davey
mail@13trusteeatlanta.com

The following parties have been served via U.S. First Class Mail:
Kawika Trevice Worrell
Camille Lizette Worrell
2555 Flat Shoals Rd #3005
Atlanta, GA 30349

I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND
CORRECT.


Dated: June 5, 2018                                Signature: /s/ Troy-John Brown
                                                   Printed Name: TROY-JOHN BROWN
                                                   Address: Aldridge Pite, LLP
                                                                Fifteen Piedmont Center
                                                                3575 Piedmont Road, N.E., Suite 500
                                                                Atlanta, GA 30305
                                                   Phone:       (404) 994-7400
                                                   Fax:         (888) 873-6147
